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IN TI-IE UNI'I`ED STATES DISTRICT COUR'I`
FOR 'I`l-IE EASTERN DISTRICT OF VlRGINIA

Richmond Division
6711 GLEN BURNIE RETAIL, LLC,
Appellant,
V- Civil Action No. 3:18-cv-491-JAG
TOYS “R” US, INC.,
Appellee.

OPINION

In July, 2018, the United States Bankruptcy Court for the Eastern District of Virginia
(“Bankruptcy Court”) approved the assignment of a sublease held by Toys “R” Us, Inc. (“TRU”),
in a Maryland shopping center. The owner of the shopping center, 671 l Glen Burnie Retail, LLC
(“Glen Burnie”), objects to the assignment

Glen Burnie owns The Centre at Glen Burnie. The Bankruptcy Court approved the
replacement of 'I`RU with a business known as Ollie’s Bargain Outlet. Glen Burnie takes exception
to the addition of Ollie’s to its mix of stores. The developers of The Centre at Glen Burnie have
high class plans for the Centre. They plan to “de-mall,” “redevelop,” and “reposition” the Centre.
Segall Group, The Cenlre at Glen Burnie, https://www.segallgroup.com/properties/the-centre-at-
glen-bumie/ (last visited December 25, 2018). Apparently, this refurbishment will make the
Centre more upscale. In contrast to Glen Burnie’s vision, Ollie’s makes no appeal to aristocratic
shoppers; it uses a simple slogan at its several stores: “Good Stuff Cheap.” Ollie’s Bargain Outlet
I-lome Page, https://www.Ollies.us/home.html (last visited December 25, 2018). Glen Burnie’s

plans apparently do not include the like of Ollie’s.

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To short circuit the arrival ofOllie’s, Glen Bumie tried to exercise its recapture rights under
the lease to prevent the assignment The Bankruptcy Court overruled Glen Burnie’s objection and
entered an order approving the transfer (“Sale Order”). Glen Bumie now appeals that order.

Because Glen Bumie did not seek a stay of the assignment to Ollie’s, the Court cannot
disturb the Sale Order on appeal. In any event, the recapture clause in the parties’ lease constitutes
an unenforceable ami-assignment provision under the Bankruptcy Code, so Glen Bumie cannot
use the clause to prevent the Ollie’s assignment For these reasons, the Court will affirm the
Bankruptcy Court’s Sale Order.

I. BACKGROUND

Glen Bumie and 'I`RU entered into a sublease in 1981 that allowed TRU to put a store in
Glen Burnie’s shopping center. As part of TRU’s bankruptcy proceedings, TRU auctioned its
interest in the lease on June ll, 2018. Ollie’s bid $2.05 million, defeating Glen Burnie’s bid of
$2.0 million. After the auction, Glen Burnie sought to invoke a recapture provision in the lease.
The provision allowed Glen Bumie to reclaim leased premises by (l) providing notice within a
specified time following the tenant’s decision to assign the lease, and (2) repaying the tenant for
its capital investments in the property.

The Bankruptcy Court held a hearing on Glen Burnie’s objection to the assignment and
determined that the recapture provision in the lease constituted an impermissible ami-assignment
clause under ll U.S.C. § 365(f)(l). Afier the Bankruptcy Court made its decision, Glen Burnie
asked the court to delay entering an order deeming Ollie’s a good faith purchaser pursuant to l l
U.S.C. § 363(m), a provision that allows good faith purchasers to rely on the finality of bankruptcy
orders. The Bankruptcy Court agreed to wait to enter the order so that Glen Bumie could “seek

appellate rights, including a stay.” (Hr’ g Tr. 32:14-24, July 2, 2018.) 'l`he Bankruptcy Court thus

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entered the Sale Order on July 9, 2018, but waited until July 19 to issue a supplemental order
characterizing the transaction as a sale agreement and deeming Ollie’s a good faith purchaser under
§ 363(m). Glen Bumie did not seek a stay during this time, but filed the instant appeal seeking to
reverse the Sale Order.l
II. DISCUSSION2
1 . Statutor}g Moomess

This Court’s reversal or modification of a sale or lease of property will have no effect
unless “such sale or lease [is] stayed pending appeal.” ll U.S.C. § 363(m). “[A] stay keeps the
disputed property within the jurisdiction of the bankruptcy court, and it forestalls the transactional
complexities that arise if the sale to a third party is completed prior to a final resolution of` the
claim.” In re Rare Eath Minerals, 445 F.3d 359, 363 (4th Cir. 2006) (internal citation omitted).
In other words, § 363(m) “curtails the power of appellate courts to undo the authorized sale of
estate assets to a good faith purchaser unless the sale has been stayed pending appea .” Otherwise,
the appeal becomes statutorily moot. Id. at 361.

ln this case, Glen Burnie failed to seek a stay of the lease assignment pending appeal,
despite contemplating a stay at the Bankruptcy Court hearing. Without a stay, this Court cannot
“grant effective relief’ by reversing the Sale Order. In re ICL Holding Co. , 802 F.3d 547, 554 (3d

Cir. 2015). Glen Burnie cannot avoid this result by arguing that the mootness provision does not

 

' Glen Bumie alternatively asks the Court to remand the Sale Order for specific findings of fact
and conclusions of law. The Bankruptcy Court, however, properly issued its findings and
conclusions from the bench at the July 2 hearing. See In re Trak Aulo Corp., 367 F.3d 237, 240
(4th Cir. 2004) (discussing the bankruptcy court’s findings of fact and conclusions of law as stated
from the bench).

2 Distm'ct courts have jurisdiction to hear appeals from “final judgments, orders, and decrees” of
the bankruptcy courts. 28 U.S.C. § 158(a)(1). Appellate courts review the factual findings of the
bankruptcy court for clear error and review questions of law de novo. In re Merry-Go-Round
Enters., Inc., 400 F.3d 219, 224 (4th Cir. 2005).

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apply to the lease assignment in this case, “It is elementary that a leasehold is personal property
and possibly of value to the debtor’s estate[;] thus the assignment of a lease for a valuable
consideration is a sale of property to which § 363(m) applies.” In re Adamson Co., 159 F.3d 896,
898 (4th Cir. 1998).

The Bankruptcy Court found that Ollie’s qualified as a good faith purchaser pursuant to
§ 363(m), and Ollie’s deserves the finality that this provision provides. See Rare Earth Minerals,
445 F.3d at 361 (affirming the district court’s dismissal for statutory mootness because “hold[ing]
otherwise would undercut § 363(m)’s express concern with the finality of bankruptcy sales”).
Thus, the Court cannot reverse the Sale Order on appeal.

2. Anti-Assignmenl Provisz'on

Even if the Court could grant relief, the Bankruptcy Court correctly held that the recapture
clause in the parties’ lease constitutes an unenforceable ami-assignment provision. The
Bankruptcy Code allows trustees to assign contracts or leases notwithstanding any provision that
“prohibits, restricts, or conditions the assignment of such contract or lease.” l l U.S.C. § 365(0(1).
Put differently, this provision “prohibits the enforcement in bankruptcy of ami-assignment clauses
in leases.” Trak Auto, 367 F.3d at 242. Certain lease provisions are so restrictive that courts, in
their discretion, classify them as ami-assignment provisions. In re E-Z Serve Convem'ence Slores,
lnc., 289 B.R. 45, 50 (M.D.N.C. 2003). Many courts have characterized recapture provisions as
ami-assignment clauses due to their restrictive nature. E.g., In re Golfsmith Int ’I Holdings, !nc.,
No. 16-12033, 2017 WL 5564291, at *9 (Bankr. D. Del. Jan. 19, 2017); In re Residemial Capilal,
LLC, No. 12-12020, 2012 WL 12906668, at *lO (Bankr. S.D.N.Y. Nov. 21, 2012).

The provision here allows Glen Bumie to recapture TRU’s assignment of the sublease,

which essentially prohibits assignment Accordingly, under § 365(f)(l) and the cases interpreting

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it, the Bankruptcy Court correctly declined to enforce the recapture clause. Glen Bumie, however,
points out that Congress has recognized that “assign[ing] . . . a shopping center lease to an outside
party can have a significant detrimental impact on others, in particular, the center’s other tenants.”
ln re Joshua Slocum le., 922 F.2d 1081, 1086 (3d Cir. 1990). Glen Bumie thus argues that
§ 365(f)(l) does not pertain to this shopping center lease, and instead § 365(b)(3)(C) should apply.
Section 365(b)(3)(C) requires shopping center tenants to assign their leases subject to any
provisions restricting, for example, the “radius, location, use, or exclusivity” of the premises. ll
U.S.C. § 365(b)(3)(C); see TrakAuto, 367 F.3d at 241 . In Glen Burnie’s view, the recapture clause
operates as a § 365(b)(3)(C) restriction, not a § 365(f)(l) ami-assignment provision.

The Fourth Circuit considered how the two provisions interact in TrakAuto. In that case,
a shopping center lease contained a clause requiring tenants to use the retail space for auto parts
and accessories 367 F.3d at 240. The court found that the provision did not prohibit assignment
pursuant to § 365(f)(l), and therefore, § 365(b)(3)(C) controlled the outcome of the case, Id. at
240, 242. In Trak Auto, the debtor-tenant could not assign the lease to an apparel store because
thc contract contained an enforceable use restriction for auto parts retailers, rather than an
unenforceable ami-assignment clause. Id. at 240, 244. The Fourth Circuit carefully noted,
however, that its decision did “not mean that § 365(1)(1) can never be used to invalidate a clause
prohibiting or restricting assignment in a shopping center lease.” Id. at 245 (emphasis added).

The parties’ lease in this case goes much further than restricting the use of the premises to
a certain type of retailer. Instead, the recapture provision enables Glen Burnie to veto TRU’s lease
assignment, regardless of the type of tenant As other courts have observed, recapture clauses like

this one impermissibly restrict assignment Thus, the recapture provision here qualifies as the type

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of ami-assignment clause that Trak Aulo indicated § 365(f)(1) would invalidate. See 367 F.3d at
245 (noting that certain shopping center lease provisions would warrant applying § 365(0(1)).
III. CONCLUSION

Glen Burnie failed to seek a stay of` the Sale Order, preventing the Court from disturbing
the order on appeal. Even if the Court could grant relief, Glen Burnie cannot invoke the
impermissible recapture provision in the lease to prevent the assignment to Ollie’s. Accordingly,
the Court will affirm the Bankruptcy Court’s decision.

The Court will enter an appropriate Order.

Let the Clerk send a copy of` this Opinion to all counsel of record.

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John A. Gibney, Jr. 7 dé

United States Dis tJu e

 

 

Date: 26 Dec. 2018
Richmond, VA

 

 

 

